Case 6:17-cr-00003-DDD-PJH            Document 132         Filed 01/22/18       Page 1 of 2 PageID #:
                                             398



                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                          *     CRIMINAL NO. 6:17-CR-00003-03


  VERSUS                                            *     JUDGE DRELL


  ROBERT JENKINS (03)                               *     MAGISTRATE JUDGE HANNA


                   REPORT AND RECOMMENDATION
                                ON
   FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration of

 guilty plea and allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned United States Magistrate Judge for a change of plea

 hearing and allocution of the defendant, Robert Jenkins, on January 11, 2018. The defendant was

 present with his counsel, Randal P. McCann.

        After the hearing, and for the reasons orally assigned, it is the finding of the undersigned that

 the defendant is fully competent, that his plea of guilty is knowing and voluntary, and that his guilty

 plea to Count 1 of the superseding indictment is fully supported by a written factual basis for each

 of the essential elements of the offense.

        Additionally, the defendant voluntarily waived the fourteen day objection period that would

 otherwise be available under 28 U.S.C. § 636. (Rec. Doc. 123).

        Therefore, the undersigned United States Magistrate Judge recommends that the District

 Court ACCEPT the guilty plea of the defendant, Robert Jenkins, in accordance with the terms of
Case 6:17-cr-00003-DDD-PJH          Document 132       Filed 01/22/18     Page 2 of 2 PageID #:
                                           399



 the plea agreement filed in the record of these proceedings, and that Robert Jenkins be finally

 adjudged guilty of the offense charged in Count 1 of the Superseding Indictment.

        THUS DONE AND SIGNED in chambers, at Lafayette, Louisiana, on January 22nd, 2018.




                                             ____________________________________
                                             PATRICK J. HANNA
                                             UNITED STATES MAGISTRATE JUDGE




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